          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                         CRIMINAL NO. 3:05CR277


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )           ORDER
                                        )
                                        )
THOMAS E. DUNLAP                        )
                                        )


     THIS MATTER is before the Court on the Defendant’s motion

requesting the Court to reconsider the order of detention imposed for the

supervised release violations on April 24, 2008. See Judgment in a

Criminal Case for Revocation of Probation or Supervised Release,

filed April 25, 2008.

     On review of the Defendant’s motion, the Court finds no cause stated

therein to warrant reconsideration of the Court’s Judgment and the Court

hereby affirms the order remanding the Defendant to the custody of the

United States Marshal.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

reconsideration of the order of detention is hereby DENIED.




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                                 Signed: April 28, 2008




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